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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

 

SOUTHERN DIVISION
case’: 4 8-01 20 win A
UNITED STATES OF AMERICA, judge: Od ei zapen eM
J Stal ore, AB At A
inti wed 40-1 6-2 ZAND (BG)
Plaintiff, ‘NOI USAV. >
Vv VIOL
18 U.S.C. § 922(0)
26 U.S.C. § 5861(d)
Muzaffer Alzand,
Defendant.
/
INDICTMENT
THE GRAND JURY CHARGES:
COUNT ONE

18 U.S.C. § 922(0)
Possession of a Machine Gun

On or about May 9, 2018, in the Eastern District of Michigan, Southern
Division, the defendant, Muzaffer Alzand, did knowingly and unlawfully possess a
machine gun, that is One Glock model 17 handgun with one glock switch attached,

in violation of Title 18, United States Code, Section 922(0).

 

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COUNT TWO
26 U.S.C. § 5861 (d)
Possession of Unregistered Firearms
On or about May 9, 2018, in the Eastern District of Michigan, Southern
Division, the defendant, Muzaffer Alzand, did knowingly and unlawfully possess
the following firearms: (1) One silencer, gold in color, stamped with “Part #11-
0762-NAN-5”; (2) One silencer, black in color, stamped with “ML25LT” and
*3CLE200174017”; (3) One silencer, black in color, with no markings; which were

not registered to him in the National Firearms Registration and Transfer Record, in

violation of Title 26, United States Code, Sections 5841, 5861(d) and 5871.

FORFEITURE ALLEGATIONS

The allegations contained in this Indictment are hereby re-alleged and
incorporated by reference for the purpose of alleging forfeiture pursuant to Title 18,
United States Code, Section 924(d), Title 21 United States Code, Section 853, and
Title 28 United States Code, Section 2461 (c).

Upon conviction of the offense set forth in Counts | and 2 of this Indictment,
the defendant Muzaffer Alzand, shall forfeit to the United States, pursuant to Title
18, United States Code, Section 924(d), and Title 28 United States Code, Section
2461(c), any firearm and ammunition involved in or used in the violation, including,

but not limited to: One Glock model 17 handgun; One silencer, gold in color,
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stamped with “Part #11-0762-NAN-5”; One silencer, black in color, stamped with

“ML25LT” and “3CLE200174017”; One silencer, black in color, with no markings.

If any of the property described in the paragraphs above as being forfeitable

under, as a result of any act or omission of the defendant - -

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cannot be located upon the exercise of due diligence;

has been transferred to, sold to, or deposited with a third party;
has been placed beyond the jurisdiction of this Court;

has been substantially diminished in value; or

has been commingled with other property that cannot be
divided without difficulty;

the United States of America, pursuant to Title 21, United States Code, Section

853(p), intends to seek forfeiture of all other property of the defendant up to the

value of the above described forfeitable property.

MATTHEW SCHNEIDER
United States Attorney

s/ Matthew Roth

MATTHEW A. ROTH

Chief, Major Crimes Unit
Assistant United States Attorney
211 W. Fort St., Suite 2001
Detroit, MI 48226

Phone: 313-226-9713
Matthew.Roth2@usdo}.gov

 

Dated: October 18, 2018

THIS IS A TRUE BILL.

s/ Grand Jury Foreperson
Grand Jury Foreperson

 

s/ Trevor Broad

TREVOR M. BROAD

APRIL N. RUSSO

Assistant United States Attorneys
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United States District Court Criminal Case Cc Judge: .
Eastern District of Michigan My: Stafford soosrmin A.
Filed: 10-1829 Zaneth A.
NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to c: INDI USA V ALZAND eo PM
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Companion Case info rm ation Companion Case Number:

This may be a companion case based upon LCrR 57.10 (b)(4}": Judge Assigned:

Clves faNo AUSA's Initials: <{ 6

Case Title: USA Vv. Muzaffer Alzand

 

 

 

 

 

County where offense occurred : Wayne

Check One: Felony L]Misdemeanor ( ]Petty
indictment/ Information --- no prior complaint.
¥_ Indictment’ Information --- based upon prior complaint [Case number: 18-mj-30524 ]
Indictment/ Information --- based upon LerR 57.10 (d) {Complete Superseding section below].

Superseding Case Information

 

Superseding to Case No: Judge:

[]Corrects errors; no additional charges or defendants.
[_]!nvolves, for plea purposes, different charges or adds counts.
[ |Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

October 18, 2018 Te £ Ss

Date TREVOR BROAD
Assistant United States Attorney

211 W. Fort Street, Suite 2001

Detroit, Ml 48226-3277

Phone: 313-226-0210

Fax: 313-226-2372

E-Mail address: trevor.broad@usdoj.gov
Attorney Bar #; P73495

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases
even though one of them may have already been terminated.

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